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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


                                                   )
SARAH KATHERINE NAUMES,                            )
        Plaintiff,                                 )
                                                   )
        v.                                         )    Civil Action No. 21-1670 (JEB)
                                                   )
DEPARTMENT OF THE ARMY,                            )
        Defendant.                                 )



                                      [PROPOSED] ORDER

        UPON CONSIDERATION of Plaintiff’s Motion for Reasonable Attorney Fees and

Other Litigation Costs [filed herein] and the entire record of this case, it is:

        ORDERED that Plaintiff’s motion is GRANTED; and it is

        FURTHER ORDERED that Defendant shall pay Plaintiff’s attorney fees in the amount

of $________, and other litigation costs reasonably incurred in the amount of $__________, for

a total of $______________.




____________________                                    _____________________________
Date                                                    JAMES E. BOASBERG
                                                        United States District Court Judge
